                             Case 1:22-cr-00015-APM          Document 47-6                  Filed 02/13/22                   Page 1 of 13

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                                               FEDERAL BUREAU OF INVESTIGA'TION




                                                                                                                Date (}f clrtry      oc/n1 /?02"1



                             Person   10      DOB                    SSAN                                  address
                                                    telephone number               was

         telephonically interviewed due to being out of town on work-related travef.
         Personl0agreed to be j-nterviewed via telephone, and after being advised of
       tth" identity of the interviewing Agents and the nature of the interview,
         Personl0 votuntarily provided the following informatjon:




                                                                  PERSON 10

                                              PERSONAT BACKG ROUN D IN FORMATION




           person 10 is   not a member of the Oath Keepers (OKs) ?nd initially thought the
             group to be somewhat racist due to an interaction'qersOn 10had with
              individuals he thought to be OK members at a local gun show. Person 10 did not
              consider associating with the OKs until- he was introduced to -            PERSONONE

             pERsoNoNE ) through a mutual friend,                                 adviseo 'Ferson10
              should speak to PERsoNoNEregardi-ng assistanC€ Personl0 courd provide to the oK
              group ciuring disaster relief missions, utilizing       Personl0 expertise in
              protective security. Personl0 spoke wiLh PERsotuotue and first interacted with the
              OKs in HousLon, TX during a disaster reLief operation, whereby the



                                                                       (Phone)
      lnvcstigation on 05/04/2021 at
                266T-tp-3413"7 06, 266T-SU-3313790, 266r-Cr-33-7r7 41' 266r-PH-
                3413541, 17 6-.tK-3 41-0025                                                                          Date <lrafted 05 / 06 / 2021
      File #

      by
               FBI Agents                           FBI Agents
     ]'his                                                             It is ths propcrty ofthc FBI and is loancd to your agency; it and its contcnts are not
     to be distributed outside your agency.
                         Case 1:22-cr-00015-APM        Document 47-6   Filed 02/13/22   Page 2 of 13
FD-302a (Rcv. 5-8-10)



          266T-rP-34L3'7 06
                                                Person l0
Continuation of FD-302   ot (U) Int-ervlew --                             On 05/04/2021 ,pase 2 of 1



          OKs provi-ded protection to and facilitatedthe travel of focal- medics who
          were providing assisLance to those negatively impacted by the hurricane.

    Person 10 ; described the mission of the OKs as security'         close protection, and
          disaster relief, wit,h some small- business security' with members afso being
          involved in the Patriot Movement. Person t0 does not view the OKs as a
          ,,mj_l_itia,, organization/ al-though init.iallyPersonl0 did; however, r PefSOnl0
          advised            proved otherwise, reveafing the OKs were a disaster relief
          organj-zation, citing the Texas example where the OKs provided security
          and/or support to mobile medics in the area.
          Furthermore, personl0 does not believe the OKs to be a violent "mil-itia"
          organization, advising the majority of OKs support l-aw enforcement, the U.S'
          government, as well as the U.S. ConstiLution, with the goal of wanting to
          help their community.          l advised he fel-t some OK members held a
          "militi-a" mindset, however felt the group overall- would help police when
          requested. personl0 advised both he and PERsoNoNEsupport faw enforcement (LE).
                                                                                               PERSoNoNE
          As an example, Personlo described in Jury 2o2o whire 5o16 Personl0 and
          were in Louisville, KY, t,he OKs contacLed the Louisville Metro Police
          Department (LMPD) to advise of the OKs being in the area and to coordinate
          withLMPD.PersontoadvisedLMPDmetwiththeoKsandtookphotosofthem,aS
          well as each of their IDs, in order to identify the OKs should it be
          necessary if an incident occurred. Additionally, Personlo obtained contact
          numbers for the LMPD ShifL Commander and Non-Emergency line shoul-d the
          OKs need to caII for assistance.

           However, whil-e in LouisviLle, Personl0 described Lhe issues the oKs had with
           mil-itia groups attempting to partneL: with the OKs to provide assistance'
           Although the oKs attempted to maintaj-n certain guidelines by which to
           follow, Lhe OKs ofLen lacked personnel resources which necessitated allowing
           militia groups to assist with OK operations. In particular,      PerSOnl0

           described an insLance where a member, or members, of another group showed up
           drunk, andpersonl0 afso felt the individual or individuals he.l-d somewhat of a
                                                                                    Personl0
           racist mentality. Although the oKs needed the additional assistance,
           spoke with pERsoNoNE 3[6sg this and they "kicked out" those group/s who did not
           align with the OK's mission or ideals. Personl0advised the OKs experienced
           no issues whi]e in Louisvif le, KY.
                            Case 1:22-cr-00015-APM     Document 47-6   Filed 02/13/22    Page 3 of 13
t;l)-102a (Rev. 5-8- I 0)


            266T-rP-341-3706
C'ontinuati6rrot'pD-30261     (U) fntervievr of      Person 10
                                                                          0rr 05 / 04 / 202L ,Pase   3of"7



         Person 10 met JESSTCA WATKINS (WATKINS) in   Louisvilte, KY in JuIy 2020, and
            described WATKINS onfy as being a member of a miliLia group and having
            joined the OKs either before or after Louisville, KY. WATKINS brought two
            unknown ma.l-es with her, however only WATKINS joined the OKs' and not the
            oLher two.
     PERSONONE conducts conference/ptanning        calls prior to each event wherei-n PERSONONE
            dj-scusses event specifics such as; pfanning and security (ensuring the
            oKs contact focal ]'E), dates of travel-, 1oca1 firearms laws, recommended
            clothing to wear (or not wear), etc. The Signal App was often utilized by
                     whereby pERsoNoNEwoutd set up multi-ple signal chats'; so much so PerSonl0
            would not monitor these chats to the pointPERsoNoNE u7euf6 neqd to call Personl0
            to have Person 10 read the chats.
     PERSON ONE     would ensure local LE was contacted by the oKs prior to the group
             attending an evenL, or at least an atLempted contact was made, to inquire if
             locaf LE could use the OK's assistance. Referring back to the l,ouisville,
             Ky example, PersonlO advised the OKs also contacted the Louisvill-e Fire
             Department to coordinate and offer assistance. The OKs woufd routinely
             determine whether sLate laws aflowed for open or conceafed carry and relay
             this informat.ion during conference/planning calls. RegardJ-ng January 5 and
             6, 202L, p6iso-rf10- was unsure who from the OKs made contact with LE in
             Washington, D.C., however assume                                 made this
             contact as                was initially in charge of the security deLail.

      PERSONONE woul-d accept donations to       pay or compensate Personl0 for his security
             services during planned operatlons. Personl0 confirmed he was paid, or
             compensated for meals or lodging arranoe.nents, by PERsoNorurduri-ng security
             details.onaL]-eastoneoccasionpgRsoNo}EpaiaPerson10through
             security contracLor persontOl workOci fcii) from whicS Personl0 received a 1099 Lax
             form.RegardingJanuary5and6,2o2I,PERsoNoNEcompensatddPersonlOby
             for Personl0-S hotel, meal-s, and fuel expenses, and addiLionally paid           9
             for his securj-tY detait services
              Prior Lopersonl l's participation with the OKs in Washington, D'C' on or about
              Jarrr_rary 6, 2021,, Personl0 worked wiLh PERSONONEsn6ToT the OKs during other
              events, such as voter protecLion, and other political ral-lies.
              Specifically, Personl0 worked with the OKs during a Stop Lhe Steal rally in
              Georgia in November 2020, and during the Trump Rally in Washington, D'C' in
                           Case 1:22-cr-00015-APM      Document 47-6   Filed 02/13/22    Page 4 of 13
l;D-302a (Rcv .5-tt- l0)


           266T-rP-34r31 06
(lontinuatiorrof FD-r02 of (U) Interview of
                                                    Person 10             On 05 / 04 / 202I ,Pase   4of'l




            December 2020. During t.he Trump Rally Person 10 provided securily for
                   who personl0 berieves to be
                                                                            . When discussing the
            Trump RalIy in December 2O2O in Washington, D.C., Personl0 mentioned providing
            security for            and other speakers during which they walked to the
            u.s. capitol for a demonstration and then departed. Additionally, iersonro
            advised during these security details in November and December 2020, Personl0
            had no knowledge of the Ot(s planning to be in Washington, D'C' on January 6'
            2021.
          Pgfgg-n 10 responded       negatively to the following quesLions:
                  . To your knowledge, was there was ever any discussion' by you or anyone
                    you know (to include oKs), to take violent action on January 6, 202L' or
                    after, if the Presidential e]ection did not produce the desired result?
                  . tlias there ever any pre-planning, or planning on January 6Lh, by the
                    oKs to incite rj-ots at the U.S. Capitol?
                  . Was there ever any pre-planning, or planning on January 6th, by
                    the OKs to forcibly enter to U.S. Capitol?
                  . was there ever an pre-planning, or planning on January 6th, by the
                    OKs to disrupt Lhe transition of the Presidency?
                  . Regarding these questions, dj-d you take any of these actions on January
                       6th?
                  . To your knowledge, did any members of the oKs take any of these actions
                       on JanuarY 6th?
             when questioned regarding PersonlO's acLions on January 5 and 6' 202'I' in
             Washington, D.C., ?ersonlO advised he was providing V.I'P' security at sefect
             sLages, to include sLage 7, where "protectees" would be giving speeches'
             The security detail encompassed staqe security and the protection of those
             individuals as they returned to their vehicles. Peisonl cited the need for
             this prot.ection after the Trump rally in December when individual-s had been
                                                                              rPersonl-0 mentioned he was
             aLtacked by ANTIFA as they were feaving the rally.
             in charge of protection detail-s for the

         ..Pgrg-opl0advised at no time did he enter the U.S. Capitol, but stood with
       , pERsoNoNEi by a fence which had been knocked down on the Northeast side of the
            U.S. Capilol. Personlo Iearned afterwarcs oKs had entered the U.S. Capitol,
            however advised no plan by the oKs incl-uded anyone going inside the u's'
            Capitol. P6[son10 likened the "stack", which has been referred to publicly.
            as how a protection detail might move through a crowd. Personlg advised the
                          Case 1:22-cr-00015-APM         Document 47-6   Filed 02/13/22   Page 5 of 13
I;D-302a (Rcv. 5-8- l0)



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                             (u   ) rnterview or Person 10                  on 05/04/202I   ,Page   5of'7



           ,'stack" was not ideal-r referring to the OKs who entered the U'S' Capitol,
           and he woul-d not have done it in the manner i-t was conducted'

           White in Washington, D.C., Fbrsonl0 never spoke to WATKINS and advised he was
           unaware WATKINS was there. Personl0l attributed this to individuals not
           checking in when they arrived in Washington, D.C., so therefore Personl0 was
           Ieft to run the security detail-s with less staff than he had planned. Personl0
           uLtimately learned of indivlduals affiliated with the OKs who entered the
           u.s. capitol, and referred to them as the "Florida Team", or the "North
           carolina Team", however did mention WATKINS by name. Person19 advised their
           actj-ons made the organization look bad, and felt he was lied to afterwards
           by Lhose who went in the U.S. Capitol'
            In this sense, personl was never totd by Lhose oKs who went inside Lhe u's'
            capitol until later, which Person 10 described as either finding out as he was
            driving home to Indiana that evening, or the next day. PersOn.lOinitiaf-IV
            found out when KELLY MEGGS (MEGGS) sent Personl0 a message on Signal chat,
            which personl0 was unable to retrieve. MEGGS allegedly told Personl0
            that. MEGGS enLered the u.s. capit.ol to assist police, and those oKs who went
            inside assisted a police officer who was being surrounded by the crowd'
          personl0 betieved WATKINS advisedPersodl0 the next day regarding WATKINS
            entering t.he U.S. Capitol. WATKINS advised she went in to render medical
            aid to those in need, however Person 10 felt. WATKINS was not completely honest
            when p"15en10 began seeing WATKINS provide interviews to reporters and hearing
            more.of what altegedly happened when the oKs were inside.

          person 10 specificallytold the FLorida group noL Lo wear mifitary Battle Dress
           uniforms (BDUs), but t.hey showed up in "fuLl kit". Personl additionally told
           individuals not to bring weapons, to dress appropriatety (BDU reference),
           and warned against wearj-ng tactical vests and/or plate carriers as these
           would be heavy and wearing them would quickly fatigue those who were not
           physicallY fiL.
          Personl0 did not assaulL any LE Officers on January 6, 2021-, nor'to Personl0 s
           knowledge did any OKs or anyone affiliated with the OKs who were assigned to
           or conducting securit.y detai-Is. PersonlO was unaware of any OKs, including
           those who enLered the u.s. capiiuol, forcibly entering the u's' capitol'
           PersonlQ heard the door was open and the group walked in'
                           Case 1:22-cr-00015-APM     Document 47-6   Filed 02/13/22   Page 6 of 13
l:D-302a (Rcv. 5-8- I 0)


            266T-TP-3413706
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                                                                         on 05/04/202I ,page 6 of     "7




           Personl0 advised the overarching role of the OKs on J'anuary 6, 2021 was to
           provide protecti-ve securiLy deLails and stage securiLy for those individuals
           they were hi-red to protect, afso ensuring the individuals would be safely
           escorted from Lhe stage to their vehicl-es. Personl0 carried no firearms with
           him in Washington, D.C., however did carry a taser, with no cartridge as to
           be inline with District guidel-ines/laws' Personl0- was aware of two oKs working
           security who carried pepper spray, but was unsure of their names. Personl0
           advised            was supposed to run the security detail- on January 5 and
            6,2,o2I,howevercouIdnotbecauS                  eifl."o16Person10and
           PERsoNoNEknew  prior to the Janauary 6, 2021, announcement of
          i'.itrXness, however the morning of January 6, 2021 was just whenp    made

            the notification to Lhe group.
           Personl0 advised the group against the use of radio communi-cations, as he felt
           radios wou.ld not be useful . Personl0 primarily utillzed text messaging,
           telephone calls, and some Signal- chat in order to communicate with those on
           security detai-ls. pbrso[10 had an additional p]an to use a "runner" to go
            from stage to stage to physically check in with security teams, however this
            was not feasible due to the fack of manpower. A communications plan was
            necessary in order for personl0 to stay in conLact with oK security personnel
            in case they needed water or had other concerns '
           Personl0 advised no Tactical Operations Center (TOC) was utilized by the OKs,
            and a TOC was not necessary as he canceLled the Quick Response Force (QRF)
            due to assessing a QRF would not be practicaf, or useful, due to bl-ocked
            streets and the large crowd. However, when questioned, Personl0 advised if
            util-ized, the purpose of the QRF woufd have been to evacuate "protectees",
            the injured, and,/or assist in the extraction of OKs if attacked by ANTIFA or
            others. When asked about uLilj-zing weapons or boats as parL of a QRF,
           personl0 advised it "wasn't us." When asked to cl-arify what he meant by "us",
                     advised neither he nor PERSONONE mentioned bringing weapons into
            Washington, D.C., or using boats in a QRF response. Personl0 added he heard
            about the QRF boat reference when he read it onLine in one of the
            affidavits.
                                         vehicle from the hotel to Washington, D.C. on
             Personl0 advised he drove his
             January 6, 2O2-L oarking near the Jef ferson Memoriaf . Al-so inPersonlo 's
             vehicl_e were PERSONONE 3nd         upon arrival Lo the event PERSONOTe and MEGS
             departed the area of where Personl0 was providing security. Personro did not see
                             Case 1:22-cr-00015-APM   Document 47-6   Filed 02/13/22      Page 7 of 13
11l)-302a (ttcv. 5-ll- l0)



         266T-rP-3413706
Oontrnuflli(nrofFl)-302of (U) fnterview of
                                                 Person 10               C)rr 05 / 04 / 2021" ,Page   7 of 7



     pERSONON    again until they near the Capitol building. Following the events at
          the U.S. Capitol', Personl0 drove PERsoNoNEand           back to Lhe hotet' and
        ' with them wa                 Name Unknown (LNU) .l ,"r,on10 went to dinner that
          evening at a restaurant near their hotel; present           ng this dinner were
         PERSON ONE                                          and members of
             NFI. Referring back to personl0 s previous statement of feeling deceived by
                                          -D,
             those who went. inside the U.S. Capitol, Personlo fearned afterward     LNU
                               -lr,
             also entered the U.S. Capitol, however did not bdvise anyone duri-ng dinner.
                            Case 1:22-cr-00015-APM          Document 47-6      Filed 02/13/22        Page 8 of 13

I'l)-.302 ( I{cr,. 5-tl- I0)
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                                                   FBt Agents                tl'Agents
             on 05/25/202I, SA rl-                               3 and ,o.               r intervi.r.6 c
                                                   -
                    to |IF                    temporary address
           'ffitton
            phone number                  Afler be ing advised of the idenLity of the
             j-nterviewing agenLs and the nature of the interview Person 10' advised of the
             following:
                                     recalt the tL/9/2020 GoToMeeting Conference Call
          . Person.'t0,did not. init.ially
      with           and the Oath Keepers. 5pFBlAgentsplayed some audio from the call
      forpersonl0 While listening to the audio, Personl0advised that some of t.hose
      on the catl believed that Trump was going to call- t,he miLitias in for
      assistance. PerSOn10ialso recall-ed that PERsoNOneliscussed fighting Antifa in
      the streets if need be, whether or not to be armed, a QRF, and a revofution.
                         at so said some sLuff about how the f ight was in our states
      ancl was t-alking abouL supporting what            said, which she probably got
      from eAnon.pERgoNoNE. also discussed mass non-compliance butPersonl0 did .rot
      recall- t.hat pERsoNorur advocated for violence on the call. Person 10 ltd.ti""cl t.he
      armed eRF on the outside referred to the rally in DC in November. When
   PERSONONE stated he wanted his street fighters ready to brawL, he was saying
      t.hi-s in reference to Antifa.
             personlgras present for the November 2020 Miflion MAGA March in DC. Pe-rson10l
             noted this was the event where everybody stayed aL the farm outside of DC in
             Virgrnia. ! pfnSOttONE       wanted to set up security assistance for people as
             they left events and went to their cars, as the day before Lhe marclt, Trump
             supporters were being attacked by Ant.ifa. There was a Quick Reacti.on Force
             set. up for the day of Lhe event., and PERsoNoNE                      in charge of
             the security. However,                scared and did not want to go hands-on
             with Ant.ifa without weapons, therefore           did not assist with the
             sercr.lrrt.y at that event. This angered PERsoNoNEtnd caused a fal-l-ing out betwe'ett
                      and psps91,1 sx5    stated that tre would start his own group' an lcea

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      I   rrvcstilration   0n 05/25/2021 a                                          (In Person)
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     to bc distributed outiide your agency.
                            Case 1:22-cr-00015-APM        Document 47-6       Filed 02/13/22   Page 9 of 13
Fl)-302a (Rcv. .5-8- l0)


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                            (U/ /Y'OVO\ Interview    of |l person
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Continuarion of l;t)-302 of 05 / 25 / 2-02-I



                           PERSON ONE
           which                        mocked.
                                                                                    PERsoNoNEun6
            The day prior to the event, P"t::n10               ,           an UnkMale
            from New york wal-ked around DC and assessed the area. The next day, which
            was the day of Lhe event, they alf went to Lhe farm in Virginia to address
            Lhe group.

            rn Lhe week before JanuarY 5th, PERsoNoNE calrec Person 10 and asked if he would
            set- Up security and protection for some of the speakers and politicians at
            the Jan 6 DC Event. Personloadvised it was difficult to geL people to help
            wittr the pSDs and stated Lhat for a while on l"/5 he was the only one
            providing security at an event between the Capitol and the Supreme Court. At
            about 2-3pm that day, the Florida team, led by Kelly Meggs, showed up to
            help.

            WiLh respect to the events of I/6, Personl0advised the communicalions between
            the group was supposed to be text message or phone cal-ls, not Signal, but
            some group members still- used Signal-. The following message and times were
            discussed with Person 10
            6:3Oamz,,Unfottunate7y,-                 beabfetomake
            it," Personl0  advised this was senL because               was sick, however
            Rhodes and PersonlQknewpslseptQ would be #1 for a week prior' PersonlO advised
            ..#1,, meant he was coordinating security details with the Oath Keepers state
            t.eams.

                         i behind the state capital teams f rom last night wif L start
             "l :42am: ..Rp

             getting there at 930 or 10 " PerSOn lostated that "RP" in the message which he
             senL at 1:42am is a ralfy po.-r{}t and that they were to get there around 9:30-
             10am, but nobodY showed uP.

             8:2oam: Personl0believed this was indeed the timePersoll0,
                                  left the hotel together. PersonlOtadvi
                                andpERsoNoNE                                        and
             were afways together and described           a W/M in his late 30s, slim build
             wilh a moustache, wearing overalls and a hat. Personl0was driving- the
             vehicl-e Lo DC with          and pERsoNoNE There was discussion of politics in
             the car and pERsoNoNEwas also on the phone at times discussing logistics.
             9:05am: ,,ALCON: The ,,"Freedom Ra7Iy"" with                                       (that we are


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                            Case 1:22-cr-00015-APM        Document 47-6         Filed 02/13/22   Page 10 of 13
l;D-302a (llcv. 5-8- I 0)


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            266T-rP-3413106
                                (u/ /vouo) rnterview of    Person 10       on
Conrinuarion of l;t)-302    d   05 / 25 / 2021,                                     on 05/25/2021 ,pase 3 of 6

            securing) js at the intersection of First Street and M street. Right next to
            the Senate office buildinqs. In ""Lower Senate Park"]t Anyone who is trying
            to fink up wiLh me,.Personl0 go t:here. we are workincJ security for that event
            aJ.7 day. " Based on t.his message and his recollection, Persollgadvised they
            woul-d not have arrlved at their destination by 9:05am' Person.lO advised stage
            7 was ]ocated at First and M. PERsoNoNEr,Personl0 and        $arked their
            vehicle near the Jeffersorr Memorial an'd wafked to Stage 7, arriving at
            approximately 10am. Person l0advised he cal-l-ed                as did

            if                       met up with the Frorida team. Personl0ladvised James and three
            oLhers were the          protective detail.
           -waswithI-:neartheE1Iipse..-didnotknowwhenor
            10:06am: Phone catl with James, whichPersonl0 advised was a voice mail
                       _                                                        tPerSOnl0
            message. pers.nlg- advised that. every time     moved, James caLled

            10:47am: TexL ytan            PersonlOtfrft not recall the conversation but
            believed it. was about what was going on at the Ellipss Person 10 advised there
            were prior phone call-s where Oath Keepers st.ated noL to wear camouflage and
            the US Secret Service would not fet the Oath Keepers in the rally with their
            kit.s.
            l-049am - l-1:41am: Phone calls with.      and James,Personl0: advised that
            mosL of these phone calls didn't go through, which is t^rhy there are so many
            of Lhem, but recalled that James informed him that        was angry because
            he was not getting VIP treatment. INFI]
       person 10 advised he spent much of his time keeping the group together and
            looking for everyone.
            2:00pm - 2:19pm: Cal-Ls with ll PERSONONE !. Personl0 advised he was still
            trving to get all- the Oat.h Keepers to meet up and o.91,
                       ir-'$r'                                  i:i'4'.ri{,
                                                                           together.
                                                                     'have
            2:15pm: "The have taken ground at .the capitaT. '$'npy5"       to regroup any
            rnernbers who are not on ntission". Personlg advised he was saying that things
            were geLting bad there and people were starling to f.S.ght with the police and
            that.              trying to regroup Lhe members to help with security for
            people who needed 1t and to regroup members to leave the area.

            2:27pm: 2 cal-ls with James. persOnlg and James spoke a couple of time and


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                          Case 1:22-cr-00015-APM         Document 47-6      Filed 02/13/22      Page 11 of 13

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           266T-rP-3413706
                     (u//t'ouo) Interview of             PerSOn 10   D on
                                                                               On 05 / 25 / 2021" , page   4of.6
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           discussed where each was and tried to meet up. James did 10     not say anything
           to person 10 about an intent.ion Lo go into the Capitol.PerSOn    udt'is"d James
                                                                                      he did
           had Lwo golf carts but was unsure where theY came from but believed
           at one Point use the cart to take                  back to her hoteL. Person 10
           further advised he was aware of t wo
                                      ' Person 10 believed James took the former of the two
                          to her hotel.
                                                                       10 while James was
      Person 10
                    advised that he now knows that James calfe Person
            inside the CaPitol, but at the time, Person 10 was not aware James had called.
            2:33pm: 2 phone cal-ls with         . Personl0 advised these calls were also
            about- coordinat.ion and meeting up"

            3:12pm-3:16pm: Calfs with                       . Personl0 advised'he did not recall these
            phone calts front     .

            3: 27pm Person 10                      are. with me now.'Personl0 noted that
                                were wl          or mos t of the daY.              was also
                                                                                  gorng on,
            there at thaL Lime, t-hen wal-ked off and came back to ask wha
                                                                             Person                         10
            4:0Opm (approximate): Everyone, including the FL Leam' met up'
            advised the conversation was not about going into the Capitol' and that
            nobody from Lhe Oath Keepers group informedPerSOnl0they entered
                                                                             the Capitol'
                                                                          and someone not
            There was tafk outside the capitol that a girl had been shoL
            associaLed with Lhe oath Keepers talked about "occupying" Lhe
                                                                           Capitol'

             5:34pm: "hre aren't quitting!!'              we are reloading"-Personl0did           not know what
             Meggs meant bY t'his message
                                                                                      of the
             5:41pm: ,'?he founding generation Sons of Liberty stormed the mansion
              co.rrLtpt Royat Governor of Massachusetts I and trashed the pTace'
                                                                                 They aTso
             jurrrpecJ on board a ship carrying East India Tea, and dumped it
                                                                               in the harbot'
             we are actuaTJy in a far more deadTy situation given the FACT that
                                                                                    enenies
                                                                                  near evety
              foreign anQ.donestic have subverted., infiTtrated, and taken ovel
                                                                              FINAL chance to
              singTe office and feveL of power in thjs nation' we hvae one
                                                                                            to
              get Trump to do his job and his duty. Patriots entering their own CapitoJ
              send a messagre to the traitors is N7THING compared
                                                                    to what's coming if Trump
                                                                                        to
              doesn,t take decisive action right now. It heJped to send that nessage


                                                    LNCLASSTFTED/ /EOVO
                           Case 1:22-cr-00015-APM        Document 47-6     Filed 02/13/22     Page 12 of 13
FD-302a (li.cv 5-8- l0)



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           266'r-rP-3 4137 0 6
                              (U//FOUO) Intervier^r of      Person 10

                           of 05 / 25 / 202.I                                 on 05 / 25 / 2.021 , Page   5of6
Continuarion of t;t)-302




            HII4. He was the nost important audience today. I hope he got the message'
           .',person10 advised he did noL see this message from PERSONONE

          After J.eaving the capitof grounds, t.he group,went back to the hotel then Lo
          l-he olj:ve Garden for dinnet.                   not wanL to go to the olive Garden
          but agreed to go with Person 10 At ahat time, Person 10 was still could not
          believe people went into the Capitol . AtctJ-iinner, the group discussed a girl
          that was shot, what had happened that day an'cl isome vague discussion about
          veLerans and Trump. At dinner, PERSONONE spoke abouL how he wanled Trump to
          invoke the rnsurrectj-on Act, and how pinsor,ronswanted to be in for the long
          hauf to assist TrumP.
         Person 10 advised he and PERsoNoNE tal_ked about the QRF and stated the QRF was not

          like those in a miliLary missj-on or operation but was just about security
          and protection for people. Person 10 advised he had noL seen the video from the
          QRF hotel- with weapons but heard from                 ancl' pspggpoNE about people
          having a stockpile of weapons there,per6n-10 was as,ked about and advised he
          was acqi:ainLed tiah                 , peRsouonr f riend, but had not spoken with him
           since the first Trump march




          Personl0 was shown several- pictures from a l,rtrord Document (attached) and
             provided the following information:
             picture 1.Person10 ,".og.ized this as himseff fxom L/6.
             Picture 2: Did not recognize.


                                                   UNCI,ASSIFTED/ /r.oVO
                             Case 1:22-cr-00015-APM                    Document 47-6          Filed 02/13/22   Page 13 of 13
l:t)--r02a (Rcv. 5-8- I 0)


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            266T-r P-34 L3706
                               (U/ /VOVOI lnterview of l                      Person 10
Continuarion of Irt)-302 of 05 / ?-S / 202-1,                                                      On 05/25/2027 , page 6 of 6


             Picture 3:           PERSON ONE
                                                     :




             Picture 4 Recognized the UnkMale from that day but did not know who he was.
             Picture 5 Did not recognize.
             Picture 6 Did not. know the individuat in the Michael Jackson World Tour
             jacket.
         Person 10 was also shown the individuals picture in                                       the New York Times online
            article, found at                   h*t-nc   . / l,;t,nt
                                                               iva/)O?1nrrl-imac   aam/i ntara.l
                                                                        /01 /2 9/rts/oath-

            keepers-capilol--riot,irlnl. Pers   was able to correctly identify Jessica
            Watkins, Kelly Meggs, Meggs, wife and Donovan Crowl.PerSOnl0 recognized
            Kenneth Harrel-son, but only by face as a Florida Oath Keeper who was present
            in Louisville. Personl0 advised the Florida Oath Keepers that he knew were
            al-I Oath Keepers who had attended the protection evenL in Louisville
            surrounding the Bri-anna Taylor decision.
         Personl0: was shown a photo of Jessica Walkins, who he recognized as "Jessica'.
          Person 10 was shown a photo of Thomas Ca1dwell, who he advised owned the farm
             where they met in Novemb... Personl0did not see Cafdwell on Lhe 6th and
             advised that prRsor'torrts and Caldwell- did not agree with each other back in
             November.




                                                               {,NCI"ASSIFTED/ /EOVO
